Case 2:21-cv-01412-ART-EJY Document 54-5 Filed 07/08/22 Page 1 of 6




                  EXHIBIT 4
Messages from Sage Humphries to the Buttons
Case 2:21-cv-01412-ART-EJY Document 54-5 Filed 07/08/22 Page 2 of 6
Case 2:21-cv-01412-ART-EJY Document 54-5 Filed 07/08/22 Page 3 of 6
Case 2:21-cv-01412-ART-EJY Document 54-5 Filed 07/08/22 Page 4 of 6
Case 2:21-cv-01412-ART-EJY Document 54-5 Filed 07/08/22 Page 5 of 6
Case 2:21-cv-01412-ART-EJY Document 54-5 Filed 07/08/22 Page 6 of 6
